                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

FTX TRADING LTD., et al.,1                                     Case No. 22-11068 (JTD)
         Debtors.
                                                               (Jointly Administered)



                   MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the
admission pro hac vice of Hilary M. Williams, Esquire of Sullivan & Cromwell LLP to serve as
counsel to the Debtors in the above captioned cases.

Dated: June 22, 2023                                LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                                    /s/ Matthew R. Pierce
                                                    Matthew R. Pierce (No. 5946)
                                                    919 Market Street, Suite 1800
                                                    Wilmington, Delaware 19801
                                                    Telephone: (302) 467-4400
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                                                    Email: pierce@lrclaw.com




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



{1368.002-W0071350.}
          CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court,
am admitted to practice and in good standing as a member of the Bar of the State of New York
and submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs
in the preparation or course of this action. I also certify that I am generally familiar with this
Court’s Local Rules and with the Standing Order for District Court Fund effective September 1,
2016. I further certify that the annual fee of $25.00 has been paid to the Clerk of Court for the
District Court.

Dated: June 22, 2023                         /s/ Hilary M. Williams
                                             Hilary M. Williams, Esquire
                                             SULLIVAN & CROMWELL LLP
                                             125 Broad Street
                                             New York, NY 10004
                                             Telephone: (212) 558-4000
                                             Email: williamsh@sullcrom.com

                                ORDER GRANTING MOTION

    IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




       Dated: June 22nd, 2023                            JOHN T. DORSEY
       Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE
